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                                  UNITED STATES DISTRICT COURT
 1                                     DISTRICT OF NEVADA
 2                                     SOUTHERN DIVISION

 3    Kathleen Bliss, on behalf of herself, the
      Proposed Nationwide Rule 23 Class, and the               Case No. 2:18-CV-01280-JAD-EJY
 4    Proposed Nevada Subclass,
 5                                   Plaintiff,
 6                                                               STIPULATION TO EXTEND
              v.                                                        DEADLINES
 7                                                                    (Fourth Request)
      CoreCivic, Inc.,
 8
                                     Defendant.
 9

10           The parties respectfully request that the Court adopt the modifications to the scheduling

11   order set forth below with respect to Defendant’s expert disclosures and both parties’ class

12   certification briefing:

13           1.      Deadline for Plaintiff to produce Supplemental Declaration from Alexander Wise

14   for use in Plaintiff’s class certification briefing set as March 17, 2023.

15           2.      Deadline for Defendant’s class certification expert disclosures extended from

16   February 17, 2023 until April 21, 2023.

17           3.      Deadline for completion of class certification expert discovery, which was

18   inadvertently not addressed in the parties’ October 14, 2022 Stipulation to Extend Deadlines (Dkt.

19   216), is extended from November 17, 2022 to May 12, 2023.

20           4.      Class certification briefing schedule modified as proposed in the table below:

21                     Filing        Current Deadline           Proposed New Deadline
22                     Plaintiff’s   March 31, 2023             June 2, 2023
                       opening class
23                     certification
                       brief
24                     Defendant’s May 1, 2023                  July 14, 2023
                       class
25                     certification
26                     response
                       brief
27

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                      Plaintiff’s      May 31, 2023             August 14, 2023
 1
                      class
 2                    certification
                      reply brief
 3

 4          This is the fourth request to extend time to file Defendant’s expert disclosures and the
 5   parties’ class certification briefs. (See ECF Nos. 86, 155, and 216 (the parties’ previous requests).)
 6   The existing case schedule has been in place since October 4, 2021. (ECF No. 156.) Since that time,
 7   the parties have made significant progress on discovery necessary for class certification. However,
 8   the primary outstanding discovery that is relevant to class certification is from third-party telephone
 9   vendors. The parties make this request because they are still working to obtain complete data
10   productions from multiple telephone vendors. Securus has agreed to produce, but has not yet begun
11   production of, call data from 16 facilities. Counsel for Securus anticipates that the production will
12   take approximately two weeks. GTL has made two productions to date, but during the 30(b)(6)
13   deposition of the GTL designee, it became apparent that there is additional GTL call data to produce
14   for La Palma Correctional Center, Saguaro Correctional Center, and Northeast Ohio Correctional
15   Center, as well as a potential re-production of call data from Marion County Jail II. GTL’s counsel
16   is still confirming the scope of additional production/re-production and has not yet provided a
17   timeframe. Following the Securus production, the parties will need to depose a vendor
18   representative from Securus regarding the call data, and the parties will need time to review the
19   data from both vendors and incorporate it into their analyses.
20   Date: February 2nd, 2023
21    NICHOLS KASTER, PLLP                                 STRUCK LOVE BOJANOWSKI &
                                                           ACEDO, PLC
22    s/ Matthew C. Helland         ______ ___
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22

23                                               IT IS SO ORDERED:
24

25                                               UNITED STATES MAGISTRATE JUDGE
26
                                                 DATED: February 2, 2023
27

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